               Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 1 of 20



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 8                          IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE WESTERN DISTRICT OF WASHINGTON

10

11    CASSANDRA VALLIANOS, individually                    Case No. 2:19-cv-00464
      and on behalf of all others similarly situated,
12                                                         CLASS ACTION COMPLAINT
                     Plaintiff,
13                                                         DEMAND FOR JURY TRIAL
      v.
14
      HOWARD SCHULTZ, a Washington
15    individual,

16                   Defendant.

17

18                                   CLASS ACTION COMPLAINT

19          Plaintiff Cassandra Vallianos (“Vallianos” or “Plaintiff”) brings this Class Action

20   Complaint and Demand for Jury Trial against Defendant Howard Schultz. (“Schultz” or

21   “Defendant”) to stop Schultz from violating the Telephone Consumer Protection Act by sending

22   unsolicited, autodialed text messages to consumers, including to consumers who have registered

23   their phone numbers on the national Do Not Call registry (“DNC”), and to otherwise obtain

24   injunctive and monetary relief for all persons injured by Schultz’s conduct. Plaintiff, for her
                                                                                            Eric R. Draluck
25                                                                                               WSBA #19881
     CLASS ACTION COMPLAINT, Page 1 of 20                                                        PO Box 11647
                                                                                  Bainbridge Island, WA 98110
26                                                                                               206-605-1424
                  Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 2 of 20



 1   Complaint, alleges as follows upon personal knowledge as to herself and her own acts and

 2   experiences, and, as to all other matters, upon information and belief, including investigation

 3   conducted by her attorneys.

 4                                               INTRODUCTION

 5           1.       Schultz, the founder of Starbucks, commenced a book tour on January 28, 2019 to

 6   promote his new book “From the Ground Up.” As Schultz himself wrote in an open letter “I’ll

 7   be in many cities talking about my book, my childhood, and sharing thoughts about the changing

 8   roles of leadership, business and citizenship in America.”1

 9           2.       Schultz, in an interview with the New York Times on January 27, 2019, said he

10   “planned to crisscross the county for the next three months as part of a book tour before

11   deciding whether to enter the presidential race.”2 [emphasis added]

12           3.       Schultz’s book – “From the Ground Up – A Journey to Reimagine the Promise of

13   America” is sold in book stores and online between $14 and $18.3

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       http://gcrmag.com/news/article/starbucks-founder-howard-schultz-announces-book-tour
     2
24     https://www.nytimes.com/2019/01/27/us/politics/howard-schultz-president-2020.html?module=inline
     3
       https://www.barnesandnoble.com/w/from-the-ground-up-howard-schultz/1129662524?ean=9780593132548#/
                                                                                                  Eric R. Draluck
25                                                                                                       WSBA #19881
         CLASS ACTION COMPLAINT, Page 2 of 20                                                            PO Box 11647
                                                                                          Bainbridge Island, WA 98110
26                                                                                                       206-605-1424
                    Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 3 of 20



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11             4.       In order to promote his book and to explore his potential presidential bid as a

12   centrist, Schultz engaged in text message marketing in violation of the Telephone Consumer

13   Protection Act (“TCPA”).

14             5.       On information and belief, Schultz or his agents, collected voter records of

15   individuals who registered as “No Party Affiliation” (who may be drawn to Schultz’s message

16   and his book) and sent them text messages directing them to his website where they could watch

17   one of his speaking engagements and where they could purchase his book “From the Ground

18   Up.”

19             6.       Schultz sends these solicitation text messages without any consent from the text

20   recipients.

21             7.       To make matters worse, Schultz sent these solicitation text messages to consumer

22   phone numbers that are registered on the DNC for the specific purpose of avoiding these types of

23   unwanted text messages.

24   4
         https://www.howardschultz.com/
                                                                                               Eric R. Draluck
25                                                                                                  WSBA #19881
         CLASS ACTION COMPLAINT, Page 3 of 20                                                       PO Box 11647
                                                                                     Bainbridge Island, WA 98110
26                                                                                                  206-605-1424
                 Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 4 of 20



 1          8.       In Plaintiff’s case, Schultz sent two autodialed text messages to her cellular phone

 2   without having her consent, and despite Plaintiff having registered her phone number on the

 3   DNC more than 30 days prior to receiving the text messages.

 4          9.       In response to these text messages, Plaintiff files this class action lawsuit seeking

 5   injunctive relief, requiring Schultz to cease sending unsolicited, autodialed text messages to

 6   consumers’ cellular telephone numbers, and to other phone numbers registered on the DNC, as

 7   well as an award of statutory damages to the members of the Classes.

 8                                                 PARTIES

 9          10.      Plaintiff Vallianos is a Sunrise, Florida resident.

10          11.      Defendant Schultz is a Seattle, Washington resident.

11                                    JURISDICTION AND VENUE

12          12.      This Court has federal question subject matter jurisdiction over this action under

13   28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

14   §227 (“TCPA”).

15          13.      This Court has personal jurisdiction over Defendant and venue is proper in this

16   District under 28 U.S.C. § 1391(b) because Defendant resides in this District, and because the

17   wrongful conduct giving rise to this case was directed from this District.

18                                      COMMON ALLEGATIONS

19                          Schultz Goes on a Book Tour Around the Country

20          14.      Schultz began his book tour on January 28, 2019 to promote his book “From the

21   Ground Up” and to promote his platform as a centrist exploring a presidential bid.

22          15.      Schultz has visited multiple cities on his book tour including Seattle, New York

23   City, and Miami.

24          16.      Often times, Schultz would give a speech or an interview at one of these events
                                                                                             Eric R. Draluck
25                                                                                                WSBA #19881
     CLASS ACTION COMPLAINT, Page 4 of 20                                                         PO Box 11647
                                                                                   Bainbridge Island, WA 98110
26                                                                                                206-605-1424
                 Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 5 of 20



 1   with a book signing afterwards to promote his book, other times, he would place his book next to

 2   him during his speech or interview.

 3             17.      On January 28, 2019 Schultz appeared on stage for an interview at Barnes &

 4   Noble in front of a 400-person audience to promote his book and message.

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15                   Figure 1: “From the Ground Up” Book Tour January 28th Event in New York's Barnes & Noble


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         https://www.youtube.com/watch?v=gQ0fBLD5cuA
                                                                                                           Eric R. Draluck
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         CLASS ACTION COMPLAINT, Page 5 of 20                                                                   PO Box 11647
                                                                                                 Bainbridge Island, WA 98110
26                                                                                                              206-605-1424
                Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 6 of 20



 1           18.       On January 30, 2019 Arizona State University hosted Schultz for an event called

 2   “From the Ground Up.” At the event, the University book store provided books for purchase

 3   prior to the event6 and during the event Schultz prominently displayed the book for the crowd.

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10           19.       On January 31, 2019 Schultz held an event in the Moore Theatre in Seattle,

11   Washington discussing his new book “From the Ground Up” which was made available for sale

12   in the lobby of the Moore Theatre.7 8

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                   Figure 2: “From the Ground Up” Book Tour at the Moore Theatre in Seattle on January 31, 2019
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       https://asuevents.asu.edu/content/ground-conversation-asu-president-michael-m-crow-and-howard-schultz
     7
24     https://www.elliottbaybook.com/event/howard-schultz
     8
       https://www.youtube.com/watch?v=SDOpLSSetbw
                                                                                                   Eric R. Draluck
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         CLASS ACTION COMPLAINT, Page 6 of 20                                                                   PO Box 11647
                                                                                                 Bainbridge Island, WA 98110
26                                                                                                              206-605-1424
                  Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 7 of 20



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 8                       Figure 3: "From the Ground Up" Books Sold in the Lobby of Moore Theatre on January 30, 2019.

                20.     On February 4, 2019 in Chicago Schultz had an event with Mellody Hobson
 9
     called “From the Ground Up: In Conversation with Howard Schultz.”9
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                                    Figure 4: “From the Ground Up” Book Tour in Chicago January 4, 2019
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                21.     On February 5, 2019 Schultz spoke at the Battle Theatre at Harvard University as
21
     part of “a discussion of his latest book From the Ground Up.”10
22

23
     9
24       https://www.chicagoideas.com/events/from-the-ground-up-in-conversation-with-howard-schultz
     10
          http://www.harvard.com/event/howard_schultz/
                                                                                                            Eric R. Draluck
25                                                                                                               WSBA #19881
         CLASS ACTION COMPLAINT, Page 7 of 20                                                                    PO Box 11647
                                                                                                  Bainbridge Island, WA 98110
26                                                                                                               206-605-1424
               Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 8 of 20



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                          Figure 5: “From the Ground Up” Book Tour at Harvard University February 5, 2019
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             22.     On February 14, 2019 Schultz hosted an event “Howard Schultz In Conversation
 9
     with Doris Kearns Goodwin” in Washington DC.11 12
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                     Figure 6: “From the Ground Up” Book Tour in Washington DC on February 14, 2019
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             23.     On February 21, 2019 Schultz held an event in the Ann and Jerry Moss Theatre in
20
     Santa Monica where he discussed his book “From the Ground Up” with Maria Shriver.13
21

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        https://www.sixthandi.org/event/howard-schultz/
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24      https://www.youtube.com/watch?v=p2tgI5MShWg
     13
        https://livetalksla.org/events/howard-schultz/
                                                                                                       Eric R. Draluck
25                                                                                                          WSBA #19881
      CLASS ACTION COMPLAINT, Page 8 of 20                                                                  PO Box 11647
                                                                                             Bainbridge Island, WA 98110
26                                                                                                          206-605-1424
                Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 9 of 20



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                         Figure 7: “From the Ground Up” Book Tour in Santa Monica on February 21, 2019
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             24.      On March 6, 2019 Schultz spoke at Rice University which hosted a “discussion
11
     on leadership and the lessons he has learned over the course of his life and business career.
12
     Schultz … also share[d] insights from his biography, ‘From the Ground Up: A Journey to
13
     Reimage the Promise of America.’”14 15
14
             25.      On March 11, 2019 Schultz held an event at the Carter Center in Atlanta with Van
15
     Jones called “From the Ground Up.” The event was promoted and sold for $28 per ticket which
16
     “reflects the price of a first edition copy of the book plus tax.”16
17

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        https://news.rice.edu/2019/03/04/howard-schultz-to-discuss-leadership-business-career-at-rice-march-6/
     15
23      https://www.eventbrite.com/e/a-conversation-with-asu-president-michael-m-crow-and-howard-schultz-
     registration-55114298350
     16
24      https://www.facebook.com/events/the-carter-center/sold-out-howard-schultz-with-van-jones-from-the-ground-
     up/598454247277096/
                                                                                                       Eric R. Draluck
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      CLASS ACTION COMPLAINT, Page 9 of 20                                                                   PO Box 11647
                                                                                              Bainbridge Island, WA 98110
26                                                                                                           206-605-1424
                  Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 10 of 20



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 8                     Figure 8: “From the Ground Up” Book Tour in Atlanta, Georgia on March 11, 2019

 9              26.     On March 13, 2019 Schultz continued his book tour at Miami-Dade College.

10   Like many of the other engagements, after speaking he “stepped down from a stage and signed

11   copies of his books.” 17

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18              27.     In order to advertise the speaking engagement and book signing at Miami Dade

19   College, Schultz sent out unsolicited text messages to consumers.

20              28.     The text messages were sent out with a link, directing consumers to Schultz’s

21   website:

22

23
     17
24        https://www.miamiherald.com/news/politics-government/national-politics/article227455289.html
     18
          https://www.miamiherald.com/news/politics-government/national-politics/article227455289.html
                                                                                                     Eric R. Draluck
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      CLASS ACTION COMPLAINT, Page 10 of 20                                                                    PO Box 11647
                                                                                                Bainbridge Island, WA 98110
26                                                                                                             206-605-1424
                 Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 11 of 20



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 5              29.     When a consumer visits https://hs.media/mia030, they are lead directly to the

 6   homepage https://www.howardschultz.com.

 7              30.     On Shultz’s homepage HowardSchultz.com, consumers are provided with an

 8   image of Schultz’s book “From the Ground Up,” as well as an “ORDER NOW” button to

 9   purchase a copy between $14 - $18.

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22                               Figure 9: “Order Now” button on HowardSchultz.com Homepage


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          https://www.howardschultz.com/
                                                                                                        Eric R. Draluck
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      CLASS ACTION COMPLAINT, Page 11 of 20                                                                  PO Box 11647
                                                                                              Bainbridge Island, WA 98110
26                                                                                                           206-605-1424
              Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 12 of 20



 1                   Schultz Sent Unsolicited Autodialed Text Messages to Consumers

 2          31.       Upon information and belief, Schultz collected voter records to determine who is

 3   registered as being “No Party Affiliation” who may be drawn to his book and political platform.

 4   He then targeted those consumers with autodialed solicitation text messages to promote his book

 5   and his speaking engagements.

 6          32.       In sending the unsolicited text messages at issue, Defendant, or a third party

 7   acting on its behalf, used an automatic telephone dialing system; hardware and/or software with

 8   the capacity to store or produce cellular telephone number to be called, using a random or

 9   sequential number generator. This is evident from the circumstances surrounding the text

10   messages, including the ability to trigger an automated response by replying “STOP,” the text

11   messages’ commercial and generic content, and that substantively identical texts were sent to

12   multiple recipients, which is consistent with the use of an automatic telephone dialing system to

13   send text messages.

14          33.       Defendant sent text messages using phone number 866-457-1676.

15          34.       Defendant Schultz sent multiple unsolicited text messages to consumer phone

16   numbers, regardless of whether they were registered on the DNC.

17                Plaintiff Received Unsolicited Autodialed Text Messages to Her Cell

18                                     Phone Despite Being on the DNC List

19          35.       On November 28, 2006, Plaintiff Vallianos registered her cellular phone number

20   on the DNC in order to avoid receiving unwanted phone and text solicitations.

21          36.       Her cellular phone number is not currently associated with a business and is for

22   personal use.

23          37.       On the website FLVOTERS.COM, Vallianos is listed as being “No Party

24   Affiliation” based on how she voted in previous elections:
                                                                                             Eric R. Draluck
25                                                                                                WSBA #19881
     CLASS ACTION COMPLAINT, Page 12 of 20                                                        PO Box 11647
                                                                                   Bainbridge Island, WA 98110
26                                                                                                206-605-1424
                  Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 13 of 20



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 4              38.      On March 13, 2019 at 11:53 AM, Vallianos received an unsolicited, autodialed

 5   text message to her cell phone from the Defendant from the phone number 866-457-1676:

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13              39.      When 866-457-1676 is called, the number is not in service.

14              40.      On March 13, 2019 at 12:04 PM, Vallianos received a second unsolicited,

15   autodialed text message from Defendant using phone number 855-266-4158 on her cellular

16   phone:

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24   20
          https://flvoters.com/pages/v100494.html
                                                                                                Eric R. Draluck
25                                                                                                   WSBA #19881
      CLASS ACTION COMPLAINT, Page 13 of 20                                                          PO Box 11647
                                                                                      Bainbridge Island, WA 98110
26                                                                                                   206-605-1424
                 Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 14 of 20



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             41.     When 855-266-4158 is called, the number is also not in service.
 9
             42.     Plaintiff has never had a relationship with Schultz, and has never provided
10
     Schultz express written consent to contact her.
11
             43.     The unauthorized text messages sent by Schultz, as alleged herein, have harmed
12
     Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed Vallianos’s
13
     use and enjoyment of her cellular phone, in addition to the wear and tear on the phones’
14
     hardware (including the phones’ battery) and the consumption of memory on the phone.
15
             44.     In addition, Defendant violated the DNC by sending 2 solicitation text messages
16
     within a 1-year period to Plaintiff’s phone number that was registered on the Do Not Call
17
     registry.
18
             45.     Seeking redress for these injuries, Vallianos, on behalf of herself and two Classes
19
     of similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47
20
     U.S.C. § 227, et seq., which prohibits unsolicited autodialed text messages to cellular telephones,
21
     including solicitation text messages to a phone number protected by the DNC.
22
                                         CLASS ALLEGATIONS
23
                      Class Treatment Is Appropriate for Plaintiff’s TCPA Claims
24
                                                                                           Eric R. Draluck
25                                                                                              WSBA #19881
      CLASS ACTION COMPLAINT, Page 14 of 20                                                     PO Box 11647
                                                                                 Bainbridge Island, WA 98110
26                                                                                              206-605-1424
              Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 15 of 20



 1          46.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

 2   and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of

 3   the following Classes:

 4          Autodialed No Consent Class: All persons in the United States who from four
            years prior to the filing of this action through class certification (1) Defendant (or
 5          an agent acting on behalf of Defendant) text messaged, (2) on the person’s
            cellular telephone number, (3) using a text messaging platform substantially
 6          similar to the text messaging platform Defendant used to text message Plaintiff,
            (4) for whom Defendant claims (a) it obtained prior express consent in the same
 7          manner as Defendant claims it supposedly obtained prior express consent to text
            message Plaintiff, or (b) it did not obtain prior express consent.
 8
            Do Not Call Registry Class: All persons in the United States who from four
 9          years prior to the filing of this action through class certification (1) Defendant (or
            an agent acting on behalf of Defendant) texted more than one time; (2) within any
10          12-month period (3) where the person’s telephone number had been listed on the
            DNC for at least thirty days; (4) for a substantially similar reason that Defendant
11          texted Plaintiff; and (5) for whom Defendant claims (a) it obtained prior express
            consent in the same manner as Defendant claims it supposedly obtained prior
12          express consent to text message Plaintiff, or (b) Defendant did not obtain prior
            express consent.
13

14          47.     The following individuals are excluded from the Classes: (1) any Judge or

15   Magistrate presiding over this action and members of their families; (2) Defendant, its

16   subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

17   have a controlling interest and their current or former employees, officers and directors; (3)

18   Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

19   from the Classes; (5) the legal representatives, successors or assigns of any such excluded

20   persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

21   and/or released. Plaintiff anticipates the need to amend the Class definition following appropriate

22   discovery.

23          48.     Numerosity: On information and belief, there are hundreds, if not thousands of

24   members of the Classes such that joinder of all members is impracticable.
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25                                                                                               WSBA #19881
     CLASS ACTION COMPLAINT, Page 15 of 20                                                       PO Box 11647
                                                                                  Bainbridge Island, WA 98110
26                                                                                               206-605-1424
              Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 16 of 20



 1          49.     Commonality and Predominance: There are many questions of law and fact

 2   common to the claims of Plaintiff and the Classes, and those questions predominate over any

 3   questions that may affect individual members of the Classes. Common questions for the Classes

 4   include, but are not necessarily limited to the following:

 5                  (a) whether Defendant used an automatic telephone dialing system to send text
                        messages to Plaintiff and the members of the Autodialed No Consent Class;
 6
                    (b) whether Defendant sent unsolicited text messages to phone numbers
 7                      registered on the DNC;

 8                  (c) whether Defendant’s conduct constitutes a violation of the TCPA; and

 9                  (d) whether members of the Classes are entitled to treble damages based on the
                        willfulness of Defendant’s conduct.
10

11          50.     Adequate Representation: Plaintiff will fairly and adequately represent and

12   protect the interests of the Classes, and has retained counsel competent and experienced in class

13   actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

14   defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting

15   this action on behalf of the members of the Classes, and have the financial resources to do so.

16   Neither Plaintiff nor her counsel has any interest adverse to the Classes.

17          51.     Appropriateness: This class action is also appropriate for certification because

18   Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

19   whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

20   of conduct toward the members of the Classes and making final class-wide injunctive relief

21   appropriate. Defendant’s business practices apply to and affect the members of the Classes

22   uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

23   respect to the Classes, not on facts or law applicable only to Plaintiff. Additionally, the damages

24   suffered by individual members of the Classes will likely be small relative to the burden and
                                                                                            Eric R. Draluck
25                                                                                               WSBA #19881
     CLASS ACTION COMPLAINT, Page 16 of 20                                                       PO Box 11647
                                                                                  Bainbridge Island, WA 98110
26                                                                                               206-605-1424
              Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 17 of 20



 1   expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

 2   Thus, it would be virtually impossible for the members of the Classes to obtain effective relief

 3   from Defendant’s misconduct on an individual basis. A class action provides the benefits of

 4   single adjudication, economies of scale, and comprehensive supervision by a single court.

 5                                      FIRST CAUSE OF ACTION

 6                                Telephone Consumer Protection Act
                                      (Violations of 47 U.S.C. § 227)
 7                      (On Behalf of Plaintiff and the Autodial No Consent Class)

 8          52.       Plaintiff repeats and realleges paragraphs 1 through 51 of this Complaint and

 9   incorporates them by reference.

10          53.       Defendant and/or its agents sent unwanted solicitation text messages to cellular

11   telephone numbers belonging to Plaintiff and the other members of the Autodialed No Consent

12   Class using an autodialer.

13          54.       These solicitation text messages were sent en masse without the consent of the

14   Plaintiff and the other members of the Autodialed No Consent Class to receive such solicitation

15   text messages.

16          55.       Defendant’s conduct was negligent, wilful, or knowing.

17          56.       Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

18   Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are

19   each entitled to between $500 and $1,500 for each and every text message.

20                                     SECOND CAUSE OF ACTION

21                                Telephone Consumer Protection Act
                                      (Violation of 47 U.S.C. § 227)
22                      (On Behalf of Plaintiff and the Do Not Call Registry Class)

23          57.       Plaintiff repeats and realleges the paragraphs 1 through 51 of this Complaint and

24   incorporates them by reference.
                                                                                             Eric R. Draluck
25                                                                                                WSBA #19881
     CLASS ACTION COMPLAINT, Page 17 of 20                                                        PO Box 11647
                                                                                   Bainbridge Island, WA 98110
26                                                                                                206-605-1424
               Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 18 of 20



 1           58.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

 2   person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

 3   who has registered his or her telephone number on the national do-not-call registry of persons

 4   who do not wish to receive telephone solicitations that is maintained by the federal government.”

 5           59.      47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

 6   person or entity making telephone solicitations or telemarketing calls to wireless telephone

 7   numbers.”21

 8           60.      47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

 9   any call for telemarketing purposes to a residential telephone subscriber unless such person or

10   entity has instituted procedures for maintaining a list of persons who request not to receive

11   telemarketing calls made by or on behalf of that person or entity.”

12           61.      Any “person who has received more than one telephone call within any 12-month

13   period by or on behalf of the same entity in violation of the regulations prescribed under this

14   subsection may” may bring a private action based on a violation of said regulations, which were

15   promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

16   solicitations to which they object. 47 U.S.C. § 227(c).

17           62.      Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

18   telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

19   Class members who registered their respective telephone numbers on the National Do Not Call

20   Registry, a listing of persons who do not wish to receive telephone solicitations that is

21   maintained by the federal government.

22           63.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

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     21
       Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
24   Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
     153A1.pdf
                                                                                                    Eric R. Draluck
25                                                                                                        WSBA #19881
      CLASS ACTION COMPLAINT, Page 18 of 20                                                               PO Box 11647
                                                                                           Bainbridge Island, WA 98110
26                                                                                                        206-605-1424
              Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 19 of 20



 1   Registry Class received more than one phone call/text message in a 12-month period by or on

 2   behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of

 3   Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered

 4   actual damages and are entitled to between $500 an $1,500 per violation.

 5                                        PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiff Vallianos, individually and on behalf of the Classes, prays for

 7   the following relief:

 8      a) An order certifying the Classes as defined above, and appointing Plaintiff as the

 9          representative of the Classes and her attorneys as Class Counsel;

10      b) An award of actual and/or statutory damages and costs;

11      c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

12      d) An injunction requiring Defendant to cease all unsolicited texting activity, and to

13          otherwise protect the interests of the Classes; and

14      e) Such further and other relief as the Court deems just and proper.

15                                          JURY DEMAND

16          Plaintiff Vallianos requests a jury trial.

17                                                  Respectfully Submitted,

18                                                  CASSANDRA VALLIANOS, individually and on
                                                    behalf of those similarly situated individuals
19
     Dated: March 28, 2019                          s/ Eric R. Draluck
20                                                  Eric R. Draluck
                                                    WSBA No. 19881
21                                                  PO Box 11647
                                                    Bainbridge Island, WA 98110
22                                                  Telephone: (206) 605-1424
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                                                                                          Eric R. Draluck
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     CLASS ACTION COMPLAINT, Page 19 of 20                                                     PO Box 11647
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           Case 2:19-cv-00464-JCC Document 1 Filed 03/28/19 Page 20 of 20



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 8

 9                                     Attorneys for Plaintiff and the putative Classes

10                                     *Pro Hac Vice motion forthcoming

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                                                                               Eric R. Draluck
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     CLASS ACTION COMPLAINT, Page 20 of 20                                          PO Box 11647
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